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                           UNITED STATE DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


IN RE EVENFLO CO., INC.
MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION                        MDL No. 1:20-md-02938-DJC

                                                     ORAL ARGUMENT REQUESTED
THIS DOCUMENT RELATES TO:

ALL ACTIONS


       DEFENDANT EVENFLO COMPANY, INC.’S MOTION TO DISMISS THE
           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                 UNDER FED. R. CIV. P. 12(b)(1) AND 12(b)(6)

       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendant Evenflo Company, Inc. (“Evenflo”), by and through undersigned counsel, respectfully

moves this Court for an order dismissing Plaintiffs’ Consolidated Amended Class Action

Complaint (10/20/2020) (“Amended Complaint”) in its entirety for failure to satisfy Article III

standing requirements under Fed. R. Civ. P. 12(b)(1), and failure to state a claim under Fed. R.

Civ. P. 12(b)(6). The bases for this Motion are set forth in the accompanying Memorandum in

Support of Defendant Evenflo Company, Inc.’s Motion to Dismiss the Consolidated Amended

Class Action Complaint Under Fed. R. Civ. P. 12(b)(1) and 12(b)(6) (“Memorandum”), filed

contemporaneously with this Motion.

       WHEREFORE, for all the reasons set forth in the Memorandum, Evenflo respectfully

requests that this Court enter an order dismissing the Amended Complaint in its entirety with

prejudice.

                           REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(D), Evenflo respectfully requests oral argument on this

Motion.
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                           LOCAL RULE 7.1(A)(2) CERTIFICATION

       Undersigned counsel certifies that they have conferred with Plaintiffs’ counsel in

accordance with Local Rule 7.1(A)(2) in connection with this Motion.

Dated: November 20, 2020                   Respectfully submitted,


                                           /s/ Lawrence G. Scarborough

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                             CERTIFICATE OF SERVICE

      I, Lawrence G. Scarborough, hereby certify that this document was electronically filed

and served using the Court’s CM/ECF system on November 20, 2020.

                                                 /s/ Lawrence G. Scarborough
                                                 Lawrence G. Scarborough




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